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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION,

                                            Plaintiff,
                        v.                                            23 Civ. 4738 (KPF)
COINBASE, INC. AND COINBASE GLOBAL, INC.,

                                      Defendants.




        DECLARATION OF DAVID P.T. WEBB IN SUPPORT OF COINBASE’S
            MOTION TO COMPEL PRODUCTION OF DOCUMENTS

       I, David P.T. Webb, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746

as follows:

       1.     I am an attorney duly admitted to practice in the United States District Court for

the Southern District of New York. I am an associate at the law firm Wachtell, Lipton, Rosen &

Katz, counsel to Defendants Coinbase, Inc. and Coinbase Global, Inc. (together, “Coinbase”). I

submit this declaration in support of Coinbase’s Motion to Compel Production of Documents.

       2.     Attached as Exhibit A is a true and correct copy of Defendants’ First Request for

Production of Documents Directed to Plaintiff Securities and Exchange Commission, dated April

23, 2024.

       3.     Attached as Exhibit B is a true and correct copy of Plaintiff’s Responses and

Objections to Defendants’ First Request for Production of Documents, dated May 23, 2024.

       4.     Attached as Exhibit C is a true and correct copy of a letter from Kevin S. Schwartz

to Nicholas Margida, dated June 25, 2024.
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       5.         Attached as Exhibit D is a true and correct copy of a letter from Nicholas Margida

to Kevin S. Schwartz, dated July 2, 2024.

       6.         Attached as Exhibit E is a true and correct copy of ECF No. 67, filed in SEC v.

Ripple Labs, Inc., et al., No. 20-cv-10832 (AT) (SN) (S.D.N.Y.) on March 15, 2021.

       7.         Attached as Exhibit F is a true and correct copy of the Rule 45 subpoena, and

accompanying materials, served on Mr. Gary Gensler, dated June 14, 2024.

       8.         Attached as Exhibit G is a true and correct copy of Gary Gensler’s Remarks Before

the   Aspen        Security     Forum,     dated        August       3,         2021,     and    available   at

https://www.sec.gov/newsroom/speeches-statements/gensler-aspen-security-forum-2021-08-03.

       9.         Attached as Exhibit H is a true and correct copy of the United States Securities and

Exchange Commission, Office of Strategic Hub for Innovation and Financial Technology’s

webpage Request Form for FinTech-Related Meetings and Other Assistance, available at

https://www.sec.gov/finhub-form#no-back.

       10.        Attached as Exhibit I is a true and correct copy of ECF No. 831-76, filed in SEC

v. Ripple Labs, Inc., et al., No. 20-cv-10832 (AT) (SN) (S.D.N.Y.) on June 13, 2023.

       11.        Attached as Exhibit J is a true and correct copy of the Wells Submission on Behalf

of Coinbase Global, Inc. and Coinbase, Inc., submitted to the United States Securities and

Exchange Commission on April 19, 2023.

       12.        Attached as Exhibit K is a true and correct copy of the Ankush Khardori’s article

Can Gary Gensler Survive Crypto Winter? D.C.’s top financial cop on Bankman-Fried blowback,

published    in     New     York    Magazine       on     February        23,     2023,    and   available   at

https://nymag.com/intelligencer/2023/02/gary-gensler-on-meeting-with-sbf-and-his-crypto-

crackdown.html.



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       13.     Attached as Exhibit L is a true and correct copy of Plaintiff’s First Request for

Production, dated April 29, 2024.

       14.     Attached as Exhibit M is a true and correct copy of a letter from the United States

Securities and Exchange Commission, Division of Corporation Finance, to Brian Armstrong, dated

December 7, 2020.

       15.     Attached as Exhibit N is a true and correct, excerpted copy of the transcript for

Game Stopped? Who Wins and Loses When Short Sellers, Social Media, and Retail Investors

Collide, Part III, a Virtual Hearing Before the Committee on Financial Services, United States

House of Representatives, dated May 6, 2021, and available in full at https://tinyurl.com/mtrnkbn2.

       16.     Attached as Exhibit O is a true and correct copy of Plaintiff’s Responses and

Objections to Defendants’ First Set of Requests for Admission, dated July 22, 2024.


       I declare under penalty of perjury that the foregoing is true and correct.




   Dated: July 23, 2024                       By:       /s/ David P.T. Webb         .




   New York, New York                                   David P.T. Webb
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